
50 Cal.App.2d 857 (1942)
FEDERAL DEPOSIT INSURANCE CORPORATION (a Corporation), Respondent,
v.
MOSES E. EDDLEMAN, Appellant.
Civ. No. 13531. 
California Court of Appeals. Second Dist., Div. Two.  
Mar. 25, 1942.
 Houston A. Snidow for Appellant.
 Sanner, Fleming &amp; Irwin for Respondent.
 Memorandum
 THE COURT.
 The respondent having filed its motion to dismiss the appeal in the above entitled matter, supported by a certificate of the clerk of the superior court setting forth the facts required by rule VI of this court, and it appearing that all of the grounds stated in the motion are supported by the said certificate and by the authorities cited, it is hereby ordered that this appeal be, and it is hereby dismissed.
